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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF OHIO

EASTERN DIVISION 219 APR 18 PH 2:47
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UNITED STATES OF AMERICA, CASE NO. 2:19- CR-053.. i i vou ife
CHIEF JUDGE SARGUS'
Plaintiff,
SUPERSEDING INDICTMENT
ys.
18 U.S.C. § 2
ANDREW K. MITCHELL, 18 U.S.C. § 242
18 U.S.C. § 1001(a)(2)
Defendant. 18 U.S.C. § 1503

18 U.S.C. § 1512(b)(3)
18 U.S.C. § 1512(c)(1)

18 U.S.C. § 2232(a)
FORFEITURE ALLEGATION

THE GRAND JURY CHARGES:

INTRODUCTORY ALLEGATIONS

At all times relevant to this Superseding Indictment:

1. From in or about at least 1988, through and including the present, the defendant,
ANDREW K. MITCHELL, has been employed as a police officer with the Columbus Division
of Police, within the Southern District of Ohio.

2. Over the course of his approximately 30-year employment, the defendant, ANDREW
K. MITCHELL, received extensive training on the policies and procedures of the Columbus
Division of Police. At the time of his commission, the defendant, ANDREW K. MITCHELL,
took an oath to uphold the United States Constitution, as well as the constitution and laws of the
State of Ohio.

3. The defendant, ANDREW K. MITCHELL, is currently assigned as a detective in
the Columbus Division of Police’s Vice Unit, and has been in this assignment since on or about

March 12, 2017.
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4. Asa detective of the Vice Unit of the Columbus Division of Police, the defendant,
ANDREW K. MITCHELL, was authorized by the laws of the State of Ohio to conduct, among
other things, enforcement actions for solicitation offenses, searches and seizures, and arrests.

5. From in or about at least 1994, through and including the present, as secondary
employment, the defendant, ANDREW K. MITCHELL, also doing business as Mitchell
Properties, LLC, has owned and operated for rent approximately 40 properties in the Central Ohio
area, within the Southern District of Ohio.

COUNT 1
(18 U.S.C. § 242: Deprivation of Rights Under Color of Law)

6. Paragraphs 1-5 of the Introductory Allegations of this Superseding Indictment are re-
alleged and incorporated here.

7. Onor about July 20, 2017, in the Southern District of Ohio, the defendant, ANDREW
K. MITCHELL, while acting under color of law, willfully deprived Victim 1 of a right secured
and protected by the Constitution and the laws of the United States, namely, the right to be free
from unreasonable searches and seizures. Specifically, the defendant, ANDREW K.
MITCHELL, under the guise of an arrest, kidnapped and attempted to kidnap Victim 1, and
transported Victim 1 to a location where Victim 1 performed oral sex for Victim 1’s freedom.

All in violation of 18 U.S.C. § 242.

COUNT 2
(18 U.S.C. § 242: Deprivation of Rights Under Color of Law)

8. Paragraphs 1—5 of the Introductory Allegations of this Superseding Indictment are re-
alleged and incorporated here.

9. Between on or about September 3, 2017 and September 24, 2017, in the Southern

District of Ohio, the defendant, ANDREW K. MITCHELL, while acting under color of law,
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willfully deprived Victim 2 of a right secured and protected by the Constitution and the laws of
the United States, namely, the right to be free from unreasonable searches and seizures.
Specifically, the defendant, ANDREW K. MITCHELL, under the guise of an arrest, kidnapped
and attempted to kidnap Victim 2, and transported Victim 2 to a location where he forced Victim
2 to have vaginal sex for Victim 2’s freedom.

All in violation of 18 U.S.C. § 242.

COUNT 3
(18 U.S.C. § 242: Deprivation of Rights Under Color of Law)

10. Paragraphs 1—5 of the Introductory Allegations of this Superseding Indictment are re-
alleged and incorporated here.

11. Between on or about May 30, 2018 and June 23, 2018, in the Southern District of
Ohio, the defendant, ANDREW K. MITCHELL, while acting under color of law, willfully
deprived Victim 2 of a right secured and protected by the Constitution and the laws of the United
States, namely, the right to be free from unreasonable searches and seizures. Specifically, the
defendant, ANDREW K. MITCHELL, under the guise of an arrest, kidnapped and attempted to
kidnap Victim 2, and transported Victim 2 to a location where he forced Victim 2 to have anal sex
for Victim 2’s freedom.

All in violation of 18 U.S.C, § 242.

COUNT 4
(18 U.S.C. § 1512(b)(3): Witness Tampering)

12. Paragraphs 1—5 of the Introductory Allegations of this Superseding Indictment are re-
alleged and incorporated here.

13. Between on or about September 26, 2018 and October 18, 2018, in the Southern

District of Ohio, the defendant, ANDREW K. MITCHELL, did knowingly intimidate, threaten,
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and corruptly persuade Victim 3, and attempt to intimidate, threaten, and corruptly persuade
Victim 3, and engage in misleading conduct toward Victim 3, with the intent to hinder, delay, and
prevent the communication to law enforcement officers, of information relating to the commission
and possible commission of a federal offense.

All in violation of 18 U.S.C. § 1512(b)@G).

COUNT 5
(18 U.S.C. § 1503: Obstruction of Justice)

14. Paragraphs 1—5 of the Introductory Allegations of this Superseding Indictment are re-
alleged and incorporated here.

15. On or about December 5, 2018, in the Southern District of Ohio, the defendant,
ANDREW K. MITCHELL, did corruptly influence, obstruct, and impede, and endeavor to
influence, obstruct, and impede the due administration of justice by attempting to influence, delay,
and prevent the testimony of Victim 4 in an official proceeding before a federal grand jury.

All in violation of 18 U.S.C. § 1503.

COUNT 6
(18 U.S.C. § 1512(b)(3): Witness Tampering)

16. + Paragraphs 1-5 of the Introductory Allegations of this Superseding Indictment are
re-alleged and incorporated here..

17. In or about December 2018, in the Southern District of Ohio, the defendant,
ANDREW K. MITCHELL, did knowingly intimidate, threaten, and corruptly persuade Victim
5, and attempt to intimidate, threaten, corruptly persuade Victim 5, and engage in misleading
conduct toward Victim 5, with the intent to hinder, delay, and prevent the communication to law
enforcement officers, of information relating to the commission and possible commission of a

federal offense.
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All in violation of 18 U.S.C. § 1512(b)(3).

COUNT 7
(18 U.S.C. § 1001(a)(2): False Statement or Representation Made to a
Department or Agency of the United States)

18. Paragraphs 1-5 of the Introductory Allegations of this Superseding Indictment are
re-alleged and incorporated here.

19. On or about September 26, 2018, the defendant, ANDREW K. MITCHELL, at
John Glenn Columbus International Airport, in the Southern District of Ohio, did willfully and
knowingly make a materially false, fictitious, and fraudulent statement and representation in a
matter within the jurisdiction of the executive branch of the Government of the United States, by
denying to agents of the Federal Bureau of Investigation that he had ever had sex with a prostitute.
The statement and representation was false because, as the defendant, ANDREW K.
MITCHELL, then and there knew, he has had sex with numerous prostitutes, including having

paid women money for sex.

All in violation of 18 U.S.C. § 1001(a)(2).

COUNT 8
(18 U.S.C. § 1512(c)(1): Obstruction of Justice)

20. Paragraphs 1—5 of the Introductory Allegations of this Superseding Indictment are re-
alleged and incorporated here.

21. On or about October 2, 2018, in the Southern District of Ohio, the defendant,
ANDREW K. MITCHELL, did corruptly alter, destroy, mutilate, and conceal records,
documents, furniture, rugs, blankets, linens, clothing, and other objects, and attempt to do so, with
the intent to impair its integrity and availability for use in an official proceeding, United States v.

Andrew K. Mitchell (Case No. 2:19-CR-053), specifically, by directing other individuals to assist
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him in removing and disposing of potential evidence from and, cleaning out, with bleach and other
chemicals, 1993 Denune Avenue, Apartment E, Columbus, Ohio 43211.

All in violation of 18 U.S.C. § 1512(c)(1) and 18 U.S.C, § 2.

COUNT 9
(18 U.S.C. § 2232(a): Destruction or Removal of Property to Prevent Seizure)

22. Paragraphs 1—5 of the Introductory Allegations of this Superseding Indictment are re-
alleged and incorporated here.

23. On or about October 2, 2018, in the Southern District of Ohio, the defendant,
ANDREW K. MITCHELL, before the search and seizure of property by law enforcement
officers from the Federal Bureau of Investigation, persons authorized to make such search and
seizure, did knowingly attempt to destroy, damage, waste, dispose of, and transfer property, for
the purpose of preventing and impairing the Government’s lawful authority to take said property
into its custody and control.

All in violation of 18 U.S.C. § 2232(a) and 18 U.S.C. § 2.

FORFEITURE ALLEGATION

24, The allegations contained in this Superseding Indictment are hereby re-alleged and
incorporated by reference for the purpose of alleging forfeitures to the United States of America
pursuant to Title 18, United States Code, Section 981(a)(1)(C) and Title 28, United States Codes,
Section 2461(c).

25. Upon conviction of any of the offenses alleged in this Superseding Indictment in
violation of 18 U.S.C. § 1503 and/or 18 U.S.C. § 1512, the defendant, ANDREW K.
MITCHELL, shall forfeit to the United States of America, pursuant to 18 U.S.C. § 981(a)(1)(C)

and 28 U.S.C. § 2461(c), any property, real or personal, which constitutes or is derived from
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proceeds traceable to such offenses, including, but not limited to, a sum of money equal to the
amount of proceeds the defendant, ANDREW K. MITCHELL, obtained as a result of the
offenses.
26. Substitute Assets: If any of the forfeitable property described above, as a result of

any act or omission of the defendant, ANDREW K. MITCHELL:

a. cannot be located upon the exercise of due diligence;

b. has been transferred or sold to, or deposited with, a third party;

c. has been placed beyond the jurisdiction of the court;

d. has been substantially diminished in value; or

e. has been commingled with other property which cannot be divided without
difficulty,

it is the intent of the United States of America, in accordance with to 21 U.S.C. § 853(p), as
incorporated by 28 U.S.C. § 2461(c), to seek forfeiture of any other property of the defendant,
ANDREW K. MITCHELL, up to the value of the forfeitable property.

Forfeiture pursuant to 18 U.S.C. § 981(a)(1)(C), 28 U.S.C. § 2461(c), and Rule 32.2
of the Federal Rules of Criminal Procedure.

A TRUE BILL.
S/Foreperson
FOREPERSON
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